           Case 2:19-cv-00441-APG-BNW Document 40 Filed 01/12/21 Page 1 of 1



 1                               UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3   UBALDO SALDANA-GARCIA,                                Case No. 2:19-cv-00441-APG-BNW
 4                         Petitioner,
           v.                                              ORDER
 5
     BRIAN WILLIAMS, et al.,                               (ECF No. 39)
 6
                           Respondents.
 7

 8          Presently before me is Respondents’ unopposed first Motion for Enlargement of Time
 9   (ECF No. 39). Because a ruling on Petitioner Ubaldo Saldana-Garcia’s Motion for Reconsideration
10   (ECF No. 36) will impact the scope of the Respondents’ answer, the Court will vacate the current
11   deadline to file an answer and revise the briefing schedule as necessary in its forthcoming order.
12          Good cause appearing, I THEREFORE ORDER that the Respondents’ Motion for
13   Enlargement of Time (ECF No. 39) is GRANTED IN PART. The deadline for the Respondents
14   to file an answer is VACATED pending further order of the Court.
15          Dated: January 12, 2021
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17                                                        ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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